                                                                                                     NEW YORK:
                                                                                                     45 Broadway
                                                                                                     32nd Floor
                                                                                                     New York, NY 10006
                                                                                                     P (212) 221-6900
                                                                                                     F (212) 221-6989
                                                                                                     Katz.H@wssllp.com

                                                                  November 4, 2024
     VIA EMAIL AND ECF
     Hon. Analisa Torres
     United States District Judge
     United States District Court
     Southern District of New York
     500 Pearl Street
     New York, New York 10007
     (Torres_NYSDChambers@nysd.uscourts.gov)

             Re:      Matter:         Baring Industries, Inc. v. Rosen, et al.
                      Docket No.:     24-cv-05606-AT

     Dear Judge Torres,

             Our office represents the Defendants, Michael Noonan and Jared Rosen (collectively, the
     “Defendants”), in the above-referenced action. In accordance with Your Honor’s Individual
     Practices, Section III. (“Motions”) A. (“Pre-Motion Letters in Civil Cases”) and B. (“Special Rules
     for Motions to Dismiss”), we previously wrote to Plaintiff’s counsel on October 18, 2024, setting
     forth certain pleading deficiencies in the Complaint, and to advise of Defendants’ intention to file
     a motion to dismiss the Complaint, pursuant to Fed. R. Civ. Pro. 12(b), for failure to name a non-
     diverse necessary and indispensable party and the Court’s resulting lack of subject matter
     jurisdiction (the “first pre-motion letter”). Plaintiff sent us a response to the first pre-motion letter
     on October 25, 2024 (the “response letter”). We now write, pursuant to Your Honor’s Individual
     Practices, to provide the Court with the basis for the anticipated motion to dismiss and to request
     a briefing schedule (the “second pre-motion letter”).

             According to the Complaint, Baring Industries, Inc. (“Baring”), alleges that it “retained
     attorneys J. Rosen and M. Noonan to represent it in an action to foreclose on the lien (‘the
     underlying litigation’).” Complaint, “Introduction”, p. 1. Baring claims that it was caused to suffer
     damages as a result of the defendants’ actions, including “legal fees paid to [Defendants’] law
     firm.” Id., ¶¶ 41, 47 (emphasis added). Yet, Baring did not name as a defendant in this action the
     actual law firm, Rosen Law LLC, that it engaged, signed a retainer agreement with, and paid to
     represent it in the underlying litigation. Instead, apparently in an attempt to allege diversity
     jurisdiction pursuant to 28 U.S.C. §1332, Baring only named individually two of the individual
     attorneys that work for Rosen Law LLC, failing to name Rosen Law LLC, the party that Baring
     actually contracted with, as that would have defeated diversity, because Plaintiff’s principal place
     of business is located in Florida, and Gary Rosen, Esq., a principal and member of Rosen Law
     LLC, is a citizen and resident of the State of Florida. It is indisputable that Defendants Rosen and
     Noonan only performed legal work in relation to the underlying litigation within the scope of their
     employment with Rosen Law LLC. It appears that Baring intentionally did not name Rosen Law
     LLC as a defendant, instead only naming individually two of its employees that are citizens of and

                                                www.WSSLLP.com
NEW YORK | NEW JERSEY | CONNECTICUT | MASSACHUSETTS | PENNSYLVANIA | FLORIDA | TEXAS | CALIFORNIA | COLORADO | ILLINOIS
Hon. Analisa Torres
November 4, 2024
Page 2 of 4
reside in the State of New York, in an attempt to improperly manufacture diversity jurisdiction,
which, in reality, does not exist. It is respectfully submitted that Plaintiff’s failure to name Rosen
Law LLC as a defendant warrants dismissal of the Complaint and the imposition of sanctions
pursuant to Fed.R.Civ.P. 11. It is a fact that adding Rosen Law LLC as a party would destroy
diversity and thus prohibit the United States District Court, Southern District of New York, from
having subject matter jurisdiction over this action. Two members of Rosen Law LLC are citizens
of and domiciled in the State of Florida, and one member of Rosen Law LLC, Defendant Jared
Rosen, is a citizen of and domiciled in the State of New York. Because Baring is a citizen of and
domiciled in the State of Florida, and because certain members of Rosen Law LLC are citizens of
and domiciled in the State of Florida, adding Rosen Law LLC would defeat diversity jurisdiction
in the United States District Court, Southern District of New York, as diversity is not complete if
any plaintiff is a citizen of the same state as any defendant. See Stevens & Co., LLC v Espat, No.
24-CV-5223 (LJL), 2024 WL 3551158, at *1 (S.D.N.Y. July 26, 2024), citing St. Paul Fire &
Marine Ins. Co. v. Universal Builders Supply, 409 F.3d 73, 80 (2d Cir. 2005).

        Aside from the written engagement agreement between Baring and Rosen Law LLC, the
documents that Baring annexes to the Complaint clearly demonstrate that Rosen Law LLC
represented Baring in the underlying litigation, and that Jared Rosen and Michael Noonan did not
represent Baring in their individual capacity, but only as employees of, and/or as a member of
Rosen Law LLC. In this regard, as indicated on the second page of the Second Circuit’s Summary
Order, which is annexed to the Complaint as “Exhibit B”, “Gary Rosen, Rosen Law LLC” is listed
as the attorney of record for Baring on the appeal. Tellingly, however, Plaintiff fails to mention
the law firm, Rosen Law LLC by name anywhere in the Complaint, alleging instead that this Court
has jurisdiction over the parties as there is “complete diversity” based upon the fact that J. Rosen
and M. Noonan are citizens of New York. Complaint, ¶¶ 2-3, 6. It is respectfully submitted that
this is disingenuous and improper and subject to Fed.R.Civ.P. Rule 11. Rosen Law LLC, with
whom Plaintiff contracted with to represent Plaintiff, is clearly a necessary non-diverse party.

        Because Baring is a corporation, for diversity purposes, Baring is domiciled in both the
place of its incorporation and its principal place of business. 28 U.S.C. 1332(c)(1) (“a corporation
shall be deemed to be a citizen of every State and foreign state by which it has been incorporated
and of the State or foreign state where it has its principal place of business”); see also, Israel v.
Carpenter, No. 95 CIV. 2703 (DAB), 1995 WL 640534, at *3 (S.D.N.Y. Oct. 31, 1995) (“[f]or
purposes of diversity, a corporation is domiciled in both the state of incorporation and the state
where it has its principal place of business”). As such, Baring is domiciled in both Nevada (where
it alleges to have been incorporated) and Florida (where it alleges to have its principal place of
business). Complaint ¶ 1. As explained below, Rosen Law, LLC, is also domiciled in Florida, as
two of its members including Gary Rosen, Esq., are domiciled in Florida.

         “A limited liability company is a citizen of every state of which any of its members is a
citizen.” Krause v. Forez Exchange Market, Inc., 356 F. Supp. 2d 332 (S.D.N.Y.
2005). “[W]hether federal diversity jurisdiction exists is determined by examining the citizenship
of the parties at the time the action is commenced.” Odeon Capital Grp., LLC v. Ackerman, 149
F. Supp.3d 480 (S.D.N.Y. 2016). An LLC “is completely diverse from opposing parties only if all
of the members of the LLC are citizens of different states than all opposing parties.” Dumann
Hon. Analisa Torres
November 4, 2024
Page 3 of 4
Realty, LLC v. Faust, No. 21-CV-1112 (BMC), 2021 WL 878558 at *1 (E.D.N.Y. Mar. 9,
2021). “[A] person’s citizenship is determined by his domicile at the time the complaint was
filed.” Velez, 2021 WL 1625411, at* 2 (S.D.N.Y. 2021). “Domicile requires the party’s physical
presence in the state and the intent to remain there indefinitely.” Id. Here, it is without question
that Gary Rosen, a member of Rosen Law LLC, is a citizen of and domiciled in Florida, since he
has resided in and voted in Florida since 2008 and is homesteaded in the State of Florida, and
intends to remain in Florida, among other reasons.

        Moreover, Rosen Law LLC, is clearly a necessary and indispensable party to this litigation
– without which this action cannot proceed. “Pursuant to Rule 19(a), a person should be joined if:
(1) in his absence complete relief cannot be accorded among those already parties, or (2) he claims
an interest relating to the subject of the action and is so situated that the disposition of this action
in his absence may (i) as a practical matter impair or impede his ability to protect that interest or
(ii) leave any of the persons already parties subject to a substantial risk of incurring double,
multiple, or otherwise inconsistent obligations by reason of the claimed interest.” Nat'l Union Fire
Ins. Co. of Pittsburgh, Pa. v. Mason, Perrin & Kanovsky, 709 F. Supp. 411, 413 (S.D.N.Y. 1989);
see also Baldwin v. Interscope Recs., Inc., No. 19-CV-8923 (JGK), 2021 WL 847976, at *4
(S.D.N.Y. Mar. 4, 2021) (“To determine whether [the proposed party to be joined] is a required
party, the Court must consider whether complete relief can be accorded among existing parties in
her absence, Fed. R. Civ. P. 19(a)(1)(A), and whether the proceeding could ‘impair or impede’
[that party’s] interests or leave an existing party subject to a ‘substantial risk’ of inconsistent
obligations. Fed. R. Civ. P. 19(a)(1)(B)(i)-(ii)”).

         Here, Rosen Law LLC, the law firm Baring retained to represent it in the underlying
litigation, has a substantial interest in this action. Indeed, any finding that Jared Rosen or Michael
Noonan was negligent (which is expressly denied) 1 could significantly prejudice Rosen Law LLC
if a subsequent action were brought against it, since Jared Rosen and Michael Noonan were
working as attorneys for Rosen Law LLC in connection with the underlying litigation at all
relevant times. Further, as mentioned, Plaintiff asserts in the Complaint that it is suing to recover
attorneys’ fees paid to Defendants’ law firm (i.e., Rosen Law, LLC). See Complaint, ¶¶ 41 and
47. Since Plaintiff is suing to recover fees paid to Rosen Law, LLC (as opposed to the individual
Defendants), it goes without saying that Rosen Law, LLC is a necessary and indispensable party,
warranting dismissal from federal court of this action for lack of subject matter jurisdiction. See
Travelers Indem. Co. v, Household Intern., Inc., 775 F.Supp. 518 (D. Conn. 1991) (“a contracting
party is the paradigm of an indispensable party.”); Haiying Xi v. Shengchun Lu, 428 F.Supp.2d
339 (E.D. Pa. 2006) (dismissing case after concluding that a co-signer of the contract was an
indispensable party who could not be dropped to preserve diversity jurisdiction).

        In Travelers Indem. Co., supra, the Court stated that “[t]he court's research has failed to
find any case on similar facts that has held that a party to a contract is not an indispensable
party.” In fact, federal courts have routinely found that a contracting party is the paradigm of an

1
  The Defendants expressly deny all allegations of wrongdoing asserted against them and expressly deny
all of Plaintiff’s claims.
Hon. Analisa Torres
November 4, 2024
Page 4 of 4
indispensable party. See Cloverleaf Standardbred Owners Ass'n, Inc. v. National Bank of
Washington, 226 App. D.C. 122, 699 F.2d 1274, 1279-80 (D.C. Cir. 1983) (district court did not
abuse its discretion in dismissing action against bank in which third party with whom the contract
was made had deposited funds, as the obligation of the third party was centrally at issue in the
action and the third party was indispensable but joinder would destroy diversity jurisdiction); Ward
v. Deavers, 203 F.2d 72, 75 (D.C. Cir. 1953) (final judgment reversed because party to contract
deemed indispensable was not joined); Japan Petrolium Co. (Nigeria) Ltd. v. Ashland Oil Inc., 456
F. Supp. 831, 836 n. 7 (D. Del. 1978) (if the "rights sued upon arise from a contract, all parties to
the contract must be joined"); Jacobsen v. Luckenbach Steamship Co., 201 F. Supp. 883, 889 (D.
Or. 1961) ("all parties [to a contract] are deemed indispensable and should be joined"). 2

        Here, Baring cannot establish complete diversity since Baring is domiciled in Florida,
where members of Rosen Law LLC are also domiciled. See Rubler v. Unum Provident Corp., No.
04-CV-7102, 2007 WL 188024 (S.D.N.Y. 2007) (rejecting the parties’ attempt to manufacture
diversity jurisdiction), citing Brankston v. Burch, 27 F.3d 164 (5th Cir. 1994) (“parties may not
manufacture diversity jurisdiction by failing to join a non-diverse indispensable party”); Johnson
v. Price, 191 F.Supp.2d 626 (D.Md. 2001) (“Court may not allow [a party] to determine, merely
by choosing whether or not to execute a waiver, whether the Court has diversity jurisdiction”).

        Based on the foregoing, it is respectfully submitted that this action must be dismissed for
lack of diversity jurisdiction and lack of federal subject matter jurisdiction, and any attempt to
amend the Complaint to resolve the foregoing deficiencies would be futile. We further respectfully
request that Your Honor order a briefing schedule for the motion. We thank Your Honor for your
attention and consideration of this matter.

                                                           Respectfully submitted,

                                                           Harris B. Katz
                                                           Harris B. Katz

2
  While Plaintiff argued in part in its response letter that Rosen Law LLC is not an indispensable party
because Plaintiff has only asserted a claim against the individual Defendants for legal malpractice (and not
for breach of contract), this is irrelevant and cannot change the fact that Rosen Law LLC is a necessary and
indispensable party to this case. Again, any legal malpractice claim (regardless of whether it is labeled as
a negligence claim or breach of contract claim) clearly arises out of the individual Defendants’ employment
with Rosen Law, LLC and Rosen Law LLC’s engagement agreement with Plaintiff and thus, regardless of
how the claim is labeled, it raises the same concern noted above if a subsequent action were brought against
Rosen Law, LLC (i.e. that a party may attempt to impute any findings from this case against Rosen Law
LLC). Moreover, under New York law, legal malpractice claims and breach of contract claims against
lawyers and law firms are routinely found to be duplicative of one another and not to be distinct claims.
See, e.g., Calcutti v. SBU, Inc., 224 F. Supp. 2d 691, 701 (S.D.N.Y. 2002) (“[w]hen there is no specific
promise in the contract that plaintiff claims defendant breached, the breach of contract claim is a ‘redundant
pleading of a malpractice claim’ and should be dismissed”). Simply put, Rosen Law is clearly a necessary
and indispensable party to this action, regardless of how Plaintiff labels its claim, and Plaintiff cannot
improperly manufacture diversity by ignoring the actual parties to the engagement agreement related to the
underlying legal representation at issue.
